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Seeking Appointment for
LaGranger Jones

                    UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,        Case No. 2:15-cr-00061-GEB
         Plaintiff,

         v.                       PROPOSED ORDER

 LaGRANGER JONES,
        Defendant.


GOOD CAUSE APPEARING pursuant to the Criminal Justice Act,

the Court appoints Krista Hart to represent LaGranger Jones on the

appeal to the Ninth Circuit Court of Appeals. Attorney Michael Long

is relieved.

Dated: July 19, 2016
